
Reese, J.
delivered the opinion of the court.
This case comes up on exceptions to the Master’s report below. And there is but one question in it: that is, whether in taking the account, the Master properly allowed a note of two hundred dollars, given by the intestate, Henry Rollman, in his lifetime to Jacob Rollman, and whether it was proper to compute interest on the same. Upon the evidence in the record, we are not at liberty to hold, that the note in its origin was fraudulent, and did not bind Henry Rollman; or that it was barred by the statute of limitations, applicable to administrations. Because there is proof of a demand in time, and of delay at the special request of the administrator till the occurrence of a specified event. As to interest, the note was made payable, by its terms, one day after date, and the subjoined agreement, that suit shall not be brought upon it, while the payee believed the maker to be safe, cannot be construed, either in point of intention or legal effect, so as to prevent the computation of interest, upon the note due by its terms, and the contract of the parties.
It would have been competent, at any time, for the maker to have paid it, and thus have prevented the accumulation of interest.
The decree will, therefore, be affirmed.
